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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-20289-CR-DIMITROULEAS

    UNITED STATES OF AMERICA

    vs.

    MILLIE ALDEREGUIA,

                                   Defendant.
    -----------------I
                                        FACTUAL PROFFER

           The United States of America and Defendant Millie Aldereguia ("Defendant") agree that

    had this case proceeded to tri,al, the United States would prove beyond a reasonable doubt the
                                                                                                I
    following facts, among others, which occurred in the Southern District of Florida.

           Defendant's uncle, A.R., was a beneficiary of monthly Social Security Administration

    ("SSA") retirement benefits.    SSA is a department and agency of the United States government.

    Beginning October 2013, SSA paid these retirement benefits to Mr. Ramos' checking account with

    JPMorgan Chase ("the Chase Account").       Defendant had access to the Chase Account but was
            J




    not an authorized signatory.

           A.R. died on June 22, 2014, and SSA continued to pay monthly retirement benefits to the

    Chase Account until December 2019.       In total, the Chase Account received $104,262 in SSA

    benefits after A.R.' s death. Defendant used all these SSA funds for her own benefit. In an audio-

    recorded interview and in a written statement, Defendant admitted that she knew that it was

    unlawful for her to have used A.R.' s SSA benefits, which rightfully belonged to the United States,

    for her own use.

           The information contained in this proffer is not a complete recitation of all the facts and
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    circumstances of this case, but the parties admit that it is sufficient to prove beyond a reasonable

    doubt a violation of Title 18, United States Code, Section 641, that is, theft of government property,

    as charged in the Indictment.




                                                   JUAN ANTONIO GONZALEZ
                                                   ACTING UNITED STATES ATTORNEY


    Date:   8/12/2021               By:
                                                   ~AIL,
                                                   ASSISTANT UNITED STATES ATTORNEY


            8• \ 3.-:? \
    Date:                           By:
                                              •    JUAN   JHELEN                     -
    Date:                           By:




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